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                                       Nos. 25-3030, 25-3034, 25-3293
                            IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT

                                                              Nos. 25-3030, 25-3293
              American Federation of Government
              Employees, AFL-CIO, et al.,
                                                              On Appeal from the U.S. District
                Plaintiffs-Appellees,                         Court for the Northern District of
              v.                                              California

              Donald J. Trump, in his official capacity as    D.C. No. 3:25-cv-03698-SI
              President of the United States, et al.,
                 Defendants-Appellants.

                                                              No. 25-3034
              In re Donald J. Trump, in his official capacity
              as President of the United States, et al.,
                                                              On Petition for Writ of
                 Petitioners-Defendants.                      Mandamus to the U.S. District
                                                              Court for the Northern District of
                                                              California

                                                              D.C. No. 3:25-cv-03698-SI
              OPPOSITION TO SUPPLEMENTAL EMERGENCY MOTION FOR STAY
                  PENDING APPEAL / PETITION FOR WRIT OF MANDAMUS
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                                             INTRODUCTION 1
                    Early in his second term, President Trump launched an unprecedented

             campaign to radically reorganize, and thereby dismantle, the federal government,

             calling this “large scale structural reform” the “Manhattan Project of our time.” 2

             Rather than cooperate with Congress through the legislative or budgetary process,

             the President issued a “Workforce Optimization” Executive Order, No. 14210

             (“EO”), which unilaterally orders the dramatic restructuring and downsizing of

             every federal agency. The President’s orders, which include eliminating any office

             or function he directs and “large-scale” workforce reductions, necessarily disregard
             agency function or need and replace reasoned decision-making with categorical

             directives.

                    The President enlisted the Office of Management and Budget (“OMB”) and
             Office of Personnel Management (“OPM”) to direct implementation of this EO

             government-wide on extraordinarily truncated timelines. In March and April,

             federal agencies chaotically began implementing their required Agency RIF and
             Reorganization Plans (“ARRPs”), to the detriment of the agencies, their

                1
                  Plaintiffs submit this identical response in Case Nos. 25-3030, 25-3034, and
             25-3293, although the TRO and mandamus appeals have been mooted. Defendants
             withdrew their Supreme Court application to stay the TRO (and discovery order)
             after the preliminary injunction decision mooted it. AFGE v. Trump, No. 24A1106
             (U.S.) (stay requested May 16; withdrawn May 23). Plaintiffs also stand on their
             previous response in No. 25-3034, where the challenged discovery order is being
             reconsidered.
                2
                  Statement by President-elect Trump announcing Department of Government
             Efficiency, The American Presidency Project (Nov. 12, 2024), available at:
             https://www.presidency.ucsb.edu/documents/statement-president-elect-donald-j-
             trump-announcing-that-elon-musk-and-vivek-ramaswamy.
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             employees, and all those who rely on their services, including the many Plaintiff

             organizations, their members, and Plaintiff local governments.

                    As the District Court found, Congress—not the President—creates and

             determines the size and structure of the federal agencies. For a century, Presidents

             undertaking reorganization projects both between and within agencies have thus

             uniformly sought congressional authorization. But President Trump has obtained

             neither renewal of the reorganization authority (still codified at 5 U.S.C. §§901-

             912) that expired in 1984, nor any other congressional authorization for his actions.

             The EO and implementing OMB/OPM directives go far beyond any authority

             agencies may have to internally regulate their organization and workforce size.

                    Based on its conclusions that this unprecedented presidential assertion of

             reorganization authority and agency implementation were likely ultra vires and

             violate the Administrative Procedure Act (“APA”), and that federal courts have
             jurisdiction to hear these claims, the District Court properly enjoined

             implementation of the EO until the merits of this case may be resolved.

                    Faced with Plaintiffs’ unchallenged and substantial evidence demonstrating

             that the President and his central agencies were dictating how and when agencies

             should transform themselves, causing ongoing and widespread harm, Defendants

             presented no evidence. The Court’s injunction is no broader than necessary to

             maintain the status quo and prevent the unconstitutional dismantling of the

             government which, if permitted to resume, will be impossible to later undo.

             ///
             ///
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                                                 BACKGROUND
             A.       Federal Agency Organization and Authority
                      Pursuant to its constitutional authority, Congress establishes the existence,

             functions, structure, and size of federal agencies via authorization and

             appropriation legislation. U.S. Const., Art. I, Sec. 1, 7; Free Enter. Fund v. Pub.

             Co. Acct. Oversight Bd., 561 U.S. 477, 499 (2010). 3 At times, Congress has

             delegated to the President specific authorization to reorganize the structure and size

             of the federal agencies. The District Court accurately recounted the history: for

             100 years, every President who sought to alter the structure of and between federal
             agencies has obtained congressional authorization. Add.701-05; see Cong. Rsch.

             Serv., R44909, Executive Branch Reorganization, at 6 (Aug. 3, 2017); Larkin &

             Seibler, The President’s Reorganization Authority, Heritage Foundation Legal
             Memorandum No. 210, at 1-3 (July 12, 2017). 4 Such delegations generally include

                  “[T]he typical sequence is: (1) organic legislation; (2) authorization of
                  3

             appropriations …; and (3) the appropriation act.” Gov’t Accountability Office
             Report GAO-04-261SP, Principles of Federal Appropriations Law: Third Ed., at 2-
             42 (Jan. 2004).
                  See also John W. York & Rachel Greszler, A Model for Executive
                  4

             Reorganization, Heritage Foundation Legal Memorandum No. 4782, at 1-2 (Nov.
             3, 2017) (“[S]weeping reorganization of the federal bureaucracy requires the active
             participation of Congress.”), available at: https://www.heritage.org/political-
             process/report/model-executive-reorganization; Limitations on Presidential Power
             to Create A New Exec. Branch Entity to Receive & Administer Funds Under
             Foreign Aid Legis., 9 Op. O.L.C. 76, 78 (1985) (recognizing “need for
             reorganization legislation in order to restructure or consolidate agencies within the
             Executive Branch”); President’s Authority To Promulgate a Reorganization Plan
             Involving the Equal Employment Opportunity Commission, 1 Op. O.L.C. 248, 250
             (1977) (“reorganization plan may not transgress the limitations set forth” in
             reorganization legislation).
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             the “reorganization plan contents, the limitations on power, and the expedited

             parliamentary procedures.” 5 E.g., 5 U.S.C. §§901-903 (still codified).

                    Presidents have employed such statutory authority for reorganizations

             ranging from “relatively minor reorganizations within individual agencies” to “the

             creation of large new organizations.” Cong. Rsch. Serv., supra n.5 at 2, 6. 6

             Congress has also denied some requests for reorganization authority, as with

             Presidents Reagan in 1981, Bush in 2003, and Obama in 2012. 7 And it has rejected

             some presidential reorganization plans, including proposals to eliminate, merge,

             and consolidate agencies. See, e.g., H.R. 714, 98th Cong. (1983); H.R. 1510,

             115th Cong. (2017); S. 1116, 112th Cong. (2011); H.R. 609, 114th Cong. (2015).
                    The most recent Reorganization Act authority expired on December 31,

             1984. Pub. L. No. 98-614, 98 Stat. 3192; see 5 U.S.C. §905(b). President Trump

             unsuccessfully sought renewal of this reorganization authority during his first term.




                5
                  Cong. Rsch. Serv., R42852, Presidential Reorganization Authority: History,
             Recent Initiatives, and Options for Congress, at 2 (Dec. 11, 2012); id. at n.11
             (collecting prior authorizations) & Tbl. 1 (“Reorganization Authority, by
             President”).
                6
                  Other times, Congress has consolidated functions and reorganized agencies
             through regular legislation. See, e.g., Homeland Security Act of 2002, Pub. L.
             107-296, 116 Stat. 2135. Congress has also sometimes delegated to the President
             limited authority to reorganize specific agencies, typically with expiration dates for
             the authority. E.g., Pub. L. 105-277, div. G, subdiv. A, §§1601, 6601(e), 112 Stat.
             2681-795 (1998) (USAID reorganization).
                7
                 See Cong. Rsch. Serv., supra n.5, at 29, 32-34; S. 2129, 112th Cong. (2012);
             H.R. 4409, 112th Cong. (2012).
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             Add.395; see Exec. Order No. 13781, 82 Fed. Reg. 13959 (Mar. 16, 2017); 8 H.R.
             6787, 115th Cong. (2017-2018); S. 3137, 115th Cong. (2018). Congress also

             convened numerous hearings on President Trump’s specific reorganization

             proposals, which were largely not enacted. 9

                     To the agencies themselves, Congress has provided direction regarding their

             structure, function, and authority in their organic authorizing statutes, and agencies

             must act within those confines. 10 Agencies may not, without congressional

             authorization, eliminate authorized programs or transfer functions to another

             agency. 11 Congress has at times specifically delegated to an agency head the

             authority to internally reorganize, including by imposing conditions on such
             actions. 12 Congress has never delegated to agencies across the board plenary

             power to organize themselves in any manner, or to reduce the federal workforce

                8
                  See OMB, Delivering Government Solutions in the 21st Century (June 2018)
             at 4 (conceding “significant changes will require legislative action”), available at
             https://www.whitehouse.gov/wp-content/uploads/2018/06/Government-Reform-
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                9
                 Add.464-65 (listing hearings); Cong. Rsch. Serv., Trump Administration
             Reform and Reorganization Plan: Discussion of 35 “Government-Wide”
             Proposals, at 1 (July 25, 2018).
                10
                   E.g., W. Virginia v. EPA, 597 U.S. 697, 723 (2022) (Roberts, J.) (“Agencies
             have only those powers given to them by Congress, and enabling legislation is
             generally not an open book to which the agency may add pages and change the plot
             line.”) (cleaned up); accord City of Arlington, Tex. v. F.C.C., 569 U.S. 290, 297
             (2013).
                11
                  Halverson v. Slater, 129 F.3d 180 (D.C. Cir. 1997); United States v.
             Giordano, 416 U.S. 505 (1974).
                 E.g., 6 U.S.C. §452 (delegating authority and placing limitations on
                12

             Department of Homeland Security reorganization).
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             size by eliminating authorized positions. Rather, Congress has delegated to

             agencies general “house-keeping” authority to “prescribe regulations for the

             government of [the] department, the conduct of its employees, the distribution and

             performance of its business, and the custody, use, and preservation of its records,

             papers, and property,” 5 U.S.C. §301, and to “employ such number of employees”

             that “Congress may appropriate for from year to year,” id. §3101. Congress has

             also enacted retention preference statutes setting forth rules when a reduction in

             force (“RIF”) is implemented, consistent with congressionally-authorized functions

             and budgets. Id. §§3501-3504. 13

             B.        President Trump’s Current Attempt to Transform the Government
                       On February 11, 2025, President Trump issued Executive Order No. 14210

             requiring all federal agencies to “commence[] a critical transformation of the

             Federal bureaucracy.” Add.205 §1 (emphases added). The accompanying “Fact
             Sheet” explained: “President Donald J. Trump is committed to reducing the size




                   Congress has also, at times, specifically authorized the executive branch to
                  13

             reduce the size of the federal workforce. See, e.g., Workforce Restructuring Act of
             1994, 108 Stat. 111 (directing President to meet reduction targets for federal
             civilian workforce); Defense Authorization Amendments and Base Closure and
             Realignment Act, 102 Stat. 2623, 2627 (1988) (authorizing several rounds of
             closures of military installations that employed military and civilian personnel), as
             amended by 104 Stat. 1485, 1808-14 (1990), and by 108 Stat. 2626 (1994), and by
             115 Stat. 1342 (2004); Federal Employees’ Pay Act of 1945, Pub. L. 79-106,
             §607(b), 59 Stat. 295 (granting budget director authority to set agency personnel
             ceilings and order staffing reductions), repealed 64 Stat. 843 (1950). Congress has
             not granted such authority to President Trump.
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             and scope of the federal government,” and “[t]he Order will significantly reduce

             the size of government.” 14 Add.435.

                     To serve this “transformation” purpose, the EO requires that all federal

             agencies “shall” “promptly undertake preparations to initiate large-scale

             reductions-in-force (RIFs)” and “submit” a “reorganization plan” for what remains

             of the agency (within 30 days). Add.205-06 §§1, 3(c), (e) (emphases added). 15

                     The EO imposes specific, mandatory parameters for the content of those RIF
             and reorganization plans, including that RIFs “shall” “prioritize[]” “[a]ll offices

             that perform functions not mandated by statute or other law,” “all agency

             initiatives, components, or operations that my Administration suspends or closes”

             and “all components and employees performing functions” not required for

             government shutdown-level staffing. Id. §3(c) (emphases added); see Add.710.

             As to reorganization, the EO similarly orders agencies to identify for OMB any
             “statutorily required entities,” and address “whether the agency or any of its

             subcomponents should be eliminated or consolidated.” Add.206 §3(e). The EO

             permits (using “may”) agency heads to exempt certain security positions. Id.
             §4(b), (c).




                14
                   White House, Fact Sheet: President Donald J. Trump Works to Remake
             America’s Federal Workforce (Feb. 11, 2025), available at:
             https://www.whitehouse.gov/fact-sheets/2025/02/fact-sheet-president-donald-j-
             trump-works-to-remake-americas-federal-workforce/.
                15
                  “It is generally clear that ‘shall’ imposes a mandatory duty.” Kingdomware
             Techs., Inc. v. United States, 579 U.S. 162, 172 (2016).
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                     On February 26, OMB/OPM issued a Memorandum implementing the EO,

             which confirmed that the President “directed” and “required” agencies to

             commence RIFs and reorganizations. Add.209. OMB and OPM “instruct[ed]”

             each federal agency to “submit[]” a combined ARRP implementing the EO for

             OMB/OPM’s “review and approval.” Add.209, 211-12. The Memorandum

             explained: “Pursuant to the President’s direction, agencies should focus on the

             maximum elimination of functions that are not statutorily mandated while driving

             the highest-quality, most efficient delivery of their statutorily-required functions.”

             Add.210. 16

                     The Memorandum thus makes clear that RIFs are the reorganization’s
             centerpiece, requiring the submission within two weeks (by March 13) of “Phase 1

             ARRPs,” which “shall focus on initial agency cuts and reductions.” Add.211

             (emphasis added). 17 Agencies were then required to submit Phase 2 ARRPs within

             another month (by April 14), that reorganize agencies around what remains after

                16
                   OMB/OPM also required agencies to work with DOGE in designing the
             RIFs, to “include positions not typically designated as essential during a lapse in
             appropriations” and to “refer to the functions that are excepted from the [2019
             lapse plans] as the starting point for making this determination.” Add.210.
             OMB/OPM also prohibited “agencies or components that provide direct services to
             citizens” from implementing “any proposed ARRPs” until OMB/OPM make
             particular certifications. Add.214.
                17
                   The Memorandum includes a “Sample RIF Timeline” requiring agencies to
             submit areas to RIF, “[d]raft RIF notices” within 30 days, and “[i]ssue official RIF
             notices” within 60 days (shortened to 30 with an OPM waiver). Add.215.
             Plaintiffs submitted former agency official declarations explaining the
             impossibility of preparing plans that properly account for agency requirements in
             such a condensed time frame. Add.186; ECF 37-60 to 62. “ECF” refers to the
             District Court docket.
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             these RIFs. Add.212-13. Defendants did not dispute Plaintiffs’ showing that OMB

             and OPM have rejected certain agencies’ ARRPs for failure to eliminate enough

             positions, Add.159, 569, 708-09, or that agencies commenced implementation soon

             after these submission deadlines. Add.674 n.1, 680-81. 18

                     Plaintiffs assembled a substantial and unrebutted record of actions

             implementing the EO through RIFs and reorganizations, including, as the District

             Court found, substantial cuts to statutorily mandated programs. Add.674 n.1, 712;
             see Add.674 n.1, 680-81; Add.151-52 (HHS: “transformation,” per EO, by cutting

             10,000 positions, with more to come, at CDC, FDA and NIH, and eliminating

             entire programs like CDC office that monitors lead exposure in children); Add.152
             (SBA: “will reduce its workforce by 43%”); Add.152 (VA: implementing EO by

             cutting 80,000 jobs serving veterans). 19 Agencies across the government are

             eliminating functions (Add.674 n.1, 680-81); 20 the President is asserting that his


                18
                   Notwithstanding ongoing implementation, the Administration has refused to
             disclose ARRPs to employees, their unions, the public, or Congress, Add.679, and
             is resisting revealing them to the federal courts, see 9th Cir. Case No. 25-3034.
                19
                   See Add.161 (AmeriCorps: nearly all staff RIF’d per EO); ECF 70-1 Exs. C-
             D (EPA: scientific research office cut per EO); ECF 37-14 at ¶¶9-12, Exs. A-D
             (GSA: RIFs and offices cut “[i]n support of the [EO]”); ECF 41-1 at ¶15, Ex. C
             (HUD: large-scale RIFs in “[c]ompliance with [EO]”); ECF 70-2 Exs. A-C (Labor:
             eliminating entire office per President order and RIF to all staff); Add.171 (NSF:
             cutting half of staff under “orders from the White House”); Add.172-73 (SSA:
             plans per EO include “abolishment of organizations and positions” and RIFs);
             Add.173-74 (State: consolidation, 15% reduction per EO); Add.174 (Treasury:
             40% IRS cut per EO).
                20
                  E.g., Add.151-52 (HHS); Add.161 (AmeriCorps); ECF 70-1 ¶¶6-7 (EPA
             Office of Research and Development, see 7 U.S.C. §5921(f); 15 U.S.C. §8962).
                                                       -9-
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             Executive Orders abolishing offices “eliminate[]” their “statutory and regulatory

             foundation”; 21 and the reorganization is transferring functions and offices between

             agencies. 22

                     The District Court rejected Defendants’ suggestion that the EO and
             Memorandum be construed as “merely providing guidance about how agencies

             should conduct RIFs,” finding that the record evidence “tells a very different story:

             that the agencies are acting at the direction of the President and his team.”

             Add.708.

                     As detailed infra, these actions have caused substantial injury to Plaintiffs,

             their members, and the public.

                                                  STANDARD
                     A stay pending appeal is an “extraordinary request.” E. Bay Sanctuary

             Covenant v. Biden, 993 F.3d 640, 661 (9th Cir. 2021). Irreparable injury and likely

             success on appeal “are the most critical” factors. Nken v. Holder, 556 U.S. 418,

             433 (2009). The Court also considers whether a stay will injure other parties and
             the public interest. Id. at 434. The applicant bears the burden of proof, and any

             factual findings are subject to “very deferential” clear-error review. Nat’l Wildlife

             Fed’n v. Nat’l Marine Fisheries Serv., 422 F.3d 782, 794 (9th Cir. 2005).




                21
                     Add.710 (citing ECF 70-2 ¶¶4, 7, Exs. C, D).
                22
                   E.g., ECF 70-1 ¶¶3-4 & Ex. A (Agriculture plans include consolidating
             functions with seven other agencies); ECF 37-26 ¶¶42-43 (Education student aid
             office will move to SBA).
                                                       -10-
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                                                 ARGUMENT

             I.     Defendants Are Unlikely to Prevail on Appeal

                    A.      The District Court correctly found that Defendants acted
                            unlawfully

                            1.   The EO exceeds the President’s constitutional and statutory
                                 authority
                    The Constitution is predicated on the idea that Executive power is not

             unlimited: “The President’s power, if any, to issue [an] order must stem either

             from an act of Congress or from the Constitution itself.” Youngstown Sheet &

             Tube Co. v. Sawyer, 343 U.S. 579, 585 (1952). Where, as here, Congress neither

             reauthorized reorganization authority nor otherwise delegated authority to the

             President to alter federal agency structure, organization, or staffing levels, his
             power is “at its lowest ebb.” Id. at 637 (Jackson, J., concurring); accord City &

             Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1234 (9th Cir. 2018); Add.701.

                    There is no real dispute that the President lacks authority to reorganize the
             federal government without congressional authorization. E.g., Larkin & Seibler,

             supra, at 3 (“[T]he President does not have constitutional authority to reorganize

             the executive branch on his own.”). Nor can there be any real dispute that this EO

             directs reorganization of the federal government—imposing a radical

             “transformation” of all federal agencies by eliminating programs and functions,

             transferring functions between agencies, and ordering agencies to restructure

             themselves through large-scale RIFs. Supra at 7-10; Add.118. While Defendants

             portray this case as solely about agencies’ authority to conduct RIFs, the EO and


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             Memorandum require every federal agency to reorganize in a manner reflecting a

             dramatically reduced workforce through combined RIF/reorganization plans, and

             Defendants made no attempt to refute Plaintiffs’ evidence bearing this out. Supra

             at 7-10. The actions the EO and Memorandum require fall squarely within 5

             U.S.C. §903—the reorganization authority that expired in 1984—which defined

             “reorganization” to include changes between and within agencies, and

             consolidation or elimination of statutory and non-statutory functions. Supra at 3-4;

             Add.702. 23

                     Even if this case were only about RIFs, the President’s Article II power does

             not extend to terminating rank-and-file civil service employees, let alone ordering

             mass terminations government-wide. E.g., Seila Law LLC v. Consumer Fin. Prot.

             Bureau, 591 U.S. 197, 218 (2020); Morrison v. Olson, 487 U.S. 654, 673-75

             (1988); United States v. Perkins, 116 U.S. 483, 485 (1886); see Hilton v. Sullivan,
             334 U.S. 323, 332 (1948) (“seniority rights” during RIF “depend entirely upon

             congressional acts” and implementing regulations).24


                23
                   5 U.S.C. §§901, 903(a). Under the now-expired reorganization authority,
             Congress required the President to explain in detail how any proposed changes
             would comport with the agencies’ statutory requirements and funding levels. Id.
             §903(b). Under Defendants’ theory, the President requires no congressional
             authorization to order agencies to terminate all agency functions “not mandated by
             statute,” Mot. 12-16, which would make the 1984 reorganization authority
             superfluous. See Add.675, 701-06.
                24
                  Indeed, the government recently told the Supreme Court that the President
             would be harmed by the inability to remove agency heads, because “[a]gency
             heads” (not the President) “control hiring and firing decisions for subordinates.”
             Bessent v. Dellinger, No. 24A79 (U.S.) (Feb. 16, 2025 Application to Vacate and

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                     Directing the structure and size of federal agencies is a legislative, not

             executive, function: “To Congress under its legislative power is given the

             establishment of offices ... [and] the determination of their functions and

             jurisdiction.” Myers v. United States, 272 U.S. 52, 129 (1926); see Nat’l Fed’n of

             Indep. Bus. v. Dep’t of Lab., OSHA, 595 U.S. 109, 117 (2022) (federal agencies are

             “creatures of statute”); Free Enter. Fund, 561 U.S. at 500 (“Congress has plenary

             control over the salary, duties, and even existence of executive offices.”).

             Defendants therefore rely solely on the President’s general authority, pursuant to

             his Article II duty to take care that Congress’s laws are faithfully executed, to

             supervise federal agencies’ exercise of their own congressionally delegated

             authority. Mot. 14. 25 Defendants thus apparently concede that the President’s

             authority extends no further than that of the agencies themselves. Mot. 12-16. But

             Defendants’ argument that the EO and OMB/OPM Memorandum fall within

             agencies’ existing statutory authority fails for at least the following reasons.

                     a. Without congressional authorization, agencies cannot transfer functions to

             other agencies, including to OMB, OPM, or DOGE. Supra at 3-6; United States v.



             Request for Administrative Stay), at *27 (emphases added)). Keim v. United
             States, 177 U.S. 290, 295 (1900) (cited Mot. 3), is not to the contrary, and merely
             stands for the proposition that agencies have general authority, constrained by
             Congress, to make employment decisions.
                25
                   Duenas v. Garland, 78 F.4th 1069, 1072 (9th Cir. 2023), which Defendants
             cite for this supervisory power, Mot. 12, involved the President’s Appointments
             Clause power to remove appointed officials. So did Seila Law LLC v. CFPB, 591
             U.S. 197 (2020), on which Duenas relies. Neither can be stretched so far as to
             authorize the presidential directives at issue.
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             Giordano, 416 U.S. 505 (1974); Halverson v. Slater, 129 F.3d 180 (D.C. Cir.

             1997). Yet the record is uncontroverted that functions and programs are being

             transferred between agencies (Add.294 n.3; Add.571; see Add.159-176), and that

             the President has transferred agencies’ authority to OMB/OPM/DOGE, which have

             overridden numerous agencies’ decisions (Add.657 & n.2 (OMB/OPM/DOGE

             rejected NLRB, AmeriCorps, NSF, and non-defendant agency ARRPs for

             insufficient cuts); Add.708-09). Defendants defend this transfer of agency

             authority based on the President’s authority to supervise agencies and to delegate

             his own authority. Mot. 16-18. But the President cannot thereby circumvent the

             prohibition on transferring authority between agencies without congressional

             authorization. Cf. San Francisco, 897 F.3d at 1240 (rejecting “Administration’s

             interpretation [that] simply lead[s] us into an intellectual cul-de-sac”).

                    b. The President cannot lawfully order agencies to exceed, defy, or abuse
             their own statutory authority. See, e.g., Citizens to Preserve Overton Park v. Volpe,

             401 U.S. 402, 411 (1971) (discretion in implementing program does not include

             freedom to ignore applicable standards or reasoned decision-making). Yet, the EO

             and Memorandum reflect categorical decisions and impose these parameters on the

             agencies, requiring them to cut all programs/offices ordered by the President and

             anything not “required” by statute. Add.711-12 (“agencies have interpreted the

             directives from the President and OMB, OPM, and DOGE to require these cuts”).

             These parameters prevent reasoned decision-making, and necessarily require

             agencies to disregard their own governing authorities (including the APA) by
             imposing categorical requirements to cut programs and functions regardless of
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             whether they are statutorily authorized or funded by Congress, for the sole purpose

             of workforce reduction. 26 The EO imposes the requirement and instructs agencies

             to figure out how to implement it. That is backwards and unlawful. E.g. New York

             v. Trump, 133 F.4th 51, 68 (1st Cir. 2025) (“funding freezes [required by Executive

             Order] were categorical in nature, rather than being based on individualized

             assessments of their statutory authorities and relevant grant terms”).

                     c. Defendants also misconstrue agencies’ statutory authority to conduct
             RIFs. They contend this authority derives from 5 U.S.C. §3502, Mot. 12-15, but

             section 3502 merely requires agencies to use a particular order of retention when

             conducting RIFs, and does not purport to provide the underlying RIF authority or
             define the scope of that authority. 5 U.S.C. §3502; 5 C.F.R. Pt. 351. 27 The same is

             true of the historical statutes and case law Defendants cite. E.g., Ch. 287, §3, 19

             Stat. 143, 169 (Aug. 15, 1876); see Veterans’ Preference Act of 1944, Pub. L. No.

             78-359, §12, 58 Stat. 390 (predecessor of modern 5 U.S.C. §3502); Hilton, 334

             U.S. at 338 (addressing veteran preference). When Congress has authorized the

             executive branch to significantly reduce the federal workforce, it has done so
             through specific legislation. Supra at 4 n.5.


                26
                   The programs, functions, and positions that the EO and Memorandum require
             be eliminated have all been appropriated by Congress for this budget year.
                27
                   OPM’s implementing regulations cannot grant greater RIF authority than the
             statute. See Loper Bright Enters. v. Raimondo, 603 U.S. 369, 391-92 (2024).
             Section 3502 assigns a single specific task to the President: shortening the length
             of the notice period upon written request by agency head. 5 U.S.C. §3502(e).
             When Congress wanted to delegate Section 3502 authority to the President, it did
             so explicitly.
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                     Agencies’ authority to conduct internal RIFs is far better understood as

             derived from—and thus limited by—their general discretion to establish positions

             to carry out their congressionally assigned and appropriated functions, consistent

             with the general “housekeeping” and “authority to employ” statutes. E.g., 5 U.S.C.

             §§301, 3101. Thus, prior administrations have addressed large-scale workforce

             reduction not pursuant to this “housekeeping” authority, but rather as part of the

             budget dialogue with Congress—not unilaterally ordered government-wide RIFs,

             as Defendants inaccurately assert. Mot. 2-3. The cited 1993 action, id. at 3,

             directed reduction through attrition and buyouts, not RIFs, 28 and President Clinton

             obtained congressional authorization for the plans. Federal Workforce
             Restructuring Act of 1994, Pub. L. 103-226, 108 Stat. 111 (1994).

                     Section 3502 cannot reasonably be read to implicitly give agencies (or the

             President) authority to do what the EO requires: eliminate programs and functions
             without any real consideration of need or purpose. See Gonzales v. Oregon, 546

             U.S. 243, 267 (2006) (Congress does not “hide elephants in mouseholes”) (cleaned

             up). The District Court therefore correctly recognized limitations on agencies’

             authority to conduct RIFs that threaten proper agency functions (which include not

             only “required” or “mandated” functions but also authorized or discretionary


                28
                  Exec. Order No. 12839, §1, 58 Fed. Reg. 8515 (Feb. 12, 1993) (to achieve
             personnel targets, positions “shall be vacated through attrition or early out
             programs established at the discretion of the department and agency heads”);
             House Rep. 103-386, 1994 U.S.C.C.A.N. 49, 52 (Nov. 19, 1993) (OMB “bulletin
             specified that neither it nor the Executive Order [No. 12839] … required agencies
             to undergo reductions-in-force.”).
                                                      -16-
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             functions). Add.674 & n.1, 705 n.18, 712-13. The Government also overreads 5

             U.S.C. §3502(d)(3), which does not purport to define the scope of underlying RIF

             authority. Mot. 14-15. Regardless of whether an agency could, after considering

             its appropriations and statutory requirements and authorizations, determine that a

             “large-scale” RIF is appropriate, that does not insulate this EO and Memorandum,

             which make that decision across-the-board without considering agency-specific

             factors.

                    d. Defendants also overread the general agency “housekeeping” statute, 5

             U.S.C. §301, which does not grant agencies unfettered discretion over agency

             structure or organization unless prohibited by Congress. Mot. 13-14. Rather,

             Section 301 “authoriz[es] what the APA terms ‘rules of agency organization

             procedure or practice’ as opposed to ‘substantive rules.’” Chrysler Corp. v. Brown,

             441 U.S. 281, 310 (1979). Defendants misread Bowsher v. Synar, 478 U.S. 714
             (1986), to suggest that “filling in [the] details” means whatever the agency wants

             (Mot. 14), but Bowsher plainly instructs that “[i]nterpreting a law enacted by

             Congress to implement the legislative mandate is the very essence of ‘execution’ of

             the law.” 478 U.S. at 733 (emphasis added).

                    Defendants cite two examples of published internal agency reorganizations

             (in stark contrast with the lack of such procedures under this EO). Mot. 14. The

             first is a rulemaking authorized by a specific statutory delegation to the Attorney

             General (75 Fed. Reg. 70122 (Nov. 17, 2010)). The second (which is miscited, but

             appears to be 71 Fed. Reg. 42234 (July 25, 2006)), redefined the responsibility of

             the Assistant Secretary of Policy at the Labor Department, citing a host of statutory
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             authority, for the purposes of enhancing the Department’s compliance programs:

             “[T]o avert and deter violations of wage, safety, employee benefits, and other laws

             …, the Department must offer strong, effective compliance assistance programs.”

             Id. In implementing this EO, by contrast, Defendants are effectively eliminating

             the entire Office of Federal Contract Compliance Programs, ECF 70-2 ¶¶4-9—

             plainly not what “housekeeping” means.

                    Defendants also err in relying on Nixon v. Fitzgerald, which did not interpret

             Section 301 but involved only provisions under Title 10, governing military

             departments. The President’s (greater) constitutional authority over military

             departments is not at issue here. 457 U.S. 731, 757 (1982) (citing former 10

             U.S.C. § 8012(b), now 10 U.S.C. §9013(g)); see 5 U.S.C. §102 (defining military

             departments); id. §105 (defining agencies to exclude military departments).

                    e. Finally, the District Court correctly rejected Defendants’ reliance on
             savings clause language. Add.711-13. As explained above, the EO asserts

             authority the President lacks and directs agencies to act unlawfully. San Francisco,

             897 F.3d at 1231, 1239-40; New York, 133 F.4th at 69-70; Add.708-11. Defendants

             mischaracterize San Francisco (Mot. 13-14), which held that a general savings

             clause “does not and cannot override [the] meaning” of an Executive Order’s more

             specific provisions. 897 F.3d at 1240.

                    The District Court therefore correctly held Plaintiffs likely to establish that

             the EO is unconstitutional and ultra vires. Add.699-706; see State v. Su, 121 F.4th

             1, 13 (9th Cir. 2024); San Francisco, 897 F.3d at 1235; Chen v. INS, 95 F.3d 801,
             805 (9th Cir. 1996) (all addressing executive orders). This conclusion does not
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             upend the Constitution but, as the District Court held, reestablishes the proper

             balance of authority between Congress and the executive branch. Add.701-04.

                     The precise scope of and limits on the President’s proper exercise of Article

             II authority to direct agencies within their statutory duties is a question for another

             day. As the District Court noted, “in certain cases “[w]e have no need to fix a line

             …. It is enough for today that wherever that line may be, this [action] is surely

             beyond it.” Add.722 (quoting Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519,

             585 (2012)). 29

                            2.     OMB, OPM, and DOGE exceeded their authority
                     The District Court found that OMB and OPM assumed for themselves

             agencies’ decision-making authority over reorganization and RIF plans, exceeding

             their statutory authority, and that DOGE has no statutory authority, including to
             direct agency actions. Add.706-08.

                     Defendants now reargue the facts to claim OMB/OPM merely provided

             “interagency dialogue” and “guidance.” Mot. 6, 17-18. But Defendants’ argument


                29
                   Implementation of this EO, which exceeds the President’s constitutional
             authority, to reorganize the federal government presents a serious risk of disruptive
             consequences, as history reveals. The last large-scale reorganization suffered from
             a different constitutional problem (the procedures authorized included a legislative
             veto, later invalidated in INS v. Chadha, 462 U.S. 919 (1983)). The constitutional
             problem caused federal courts to be inundated with “numerous challenges” to
             agency enforcement actions. E.g., EEOC v. Merrill Lynch, Pierce, Fenner &
             Smith, 677 F.Supp. 918, 920 (N.D. Ill. 1987); EEOC v. CBS, Inc., 743 F.2d 969 (2d
             Cir.1984); EEOC v. Chrysler Corp., 595 F.Supp. 344 (E.D. Mich. 1984); EEOC v.
             Martin Indus., Inc., 581 F.Supp. 1029 (N.D. Ala. 1984); EEOC v. Pan Am. World
             Airways, 576 F.Supp. 1530 (S.D.N.Y. 1984); EEOC v. Allstate Ins. Co., 570
             F.Supp. 1224 (S.D. Miss. 1983).
                                                        -19-
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             is unsupported by any evidence and disregards the mandatory language of the EO

             and Memorandum. Add.708-11; supra at 7-8. Further, Plaintiffs’ uncontroverted

             evidence showed that OMB/OPM were in fact exercising authority to approve or

             reject agencies’ plans, including based on OMB/OPM’s view of whether they

             proposed sufficient cuts (Add.708-09; supra at 8-10), and the immediate

             implementation of ARRPs following OMB/OPM’s deadlines for “approval.”

             Add.569-71, 679-81, 708; supra at 8-10. Meanwhile, Defendants stated they

             “d[id] not make or rely on any factual representations” and that “no factual

             development is necessary.” App.629. The District Court’s findings that the

             Memorandum gives mandatory directives, not guidance, and requires OMB/OPM

             approval of agency plans, were not error.

                            3.   OMB’s and OPM’s actions violate the APA
                    Because OMB and OPM acted without statutory authority, their actions also

             exceed statutory authority under the APA. Add.716; 5 U.S.C. §706(2)(A), (C).

                    The District Court correctly held that OMB/OPM’s Memorandum and

             approvals of ARRPs are all final agency action. Add.714-15. Defendants do not

             dispute that with respect to ARRP approvals. Mot. 11. Their characterization of

             the Memorandum as mere precatory “guidance,” Mot. 18, is at odds with the

             Memorandum’s plain, mandatory terms and the record evidence of its

             implementation. Supra at 7-10; see Appalachian Power Co. v. EPA, 208 F.3d

             1015, 1023 (D.C. Cir. 2000) (self-styled agency “guidance” was final action

             because “it requires, it orders, it dictates” actions). The Memorandum’s

             determination that OMB and OPM are the final decision-makers over agency
                                                      -20-
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             ARRPs is inconsistent with Congress’s delegation of authority to agencies (5

             U.S.C. §3101), OMB and OPM’s statutory authority (5 U.S.C. §1101-1105; 31

             U.S.C. §503), and OPM regulations, under which agencies are the decision-makers

             (5 C.F.R. §351.201). The Memorandum plainly alters the legal regime and

             “mark[s] the consummation of [OMB’s and OPM’s] decisionmaking process” on

             that question. Prutehi Litekyan: Save Ritidian v. U.S. Dep’t of Airforce, 128 F.4th

             1089, 1108 (9th Cir. 2025) (quotation omitted).

                    Defendants wrongly contend that the Memorandum itself must “directly

             affect” Plaintiffs. Mot. 11. “[A] federal agency’s assessment, plan, or decision

             qualifies as final agency action even if the ultimate impact of that action [on

             plaintiffs] rests on some other occurrence—for instance, … a decision by another

             administrative agency[.]” Prutehi Litekyan, 128 F.4th at 1110; see Env’t Def. Ctr v.

             Bureau of Ocean Energy Mgmt., 36 F.4th 850, 869 (9th Cir. 2022). Final agency
             actions include those that bind or direct how government officials act in subsequent

             proceedings that impact plaintiffs. See New York, 133 F.4th at 68; Biden v. Texas,

             597 U.S. 785, 807-10 (2022); Navajo Nation v. Dep’t of Interior, 819 F.3d 1084,

             1091 (9th Cir. 2016). It is uncontroverted that the RIFs, reorganizations, and

             ARRPs do so. Infra at 28-30.

                    Because Plaintiffs challenge specific and “circumscribed, discrete agency

             actions” by OMB and OPM (the Memorandum and ARRP approvals), their claims

             are not an impermissible “programmatic attack.” Norton v. S. Utah Wilderness

             All., 542 U.S. 55, 62 (2004).


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                     Defendants’ cursory argument that notice-and-comment rulemaking was not

             required because the Memorandum merely provides nonbinding “guidance,” Mot.

             18, is wrong for reasons previously discussed. The Memorandum plainly contains

             rules that must go through APA notice-and-comment rulemaking. Add.188-90.
                     B.     Federal courts have subject matter jurisdiction to hear Plaintiffs’
                            constitutional and APA claims
                     The District Court correctly held that Congress has not implicitly removed
             subject matter jurisdiction over Plaintiffs’ claims. See Mims v. Arrow Fin. Servs.,

             LLC, 565 U.S. 368, 383 (2012) (“[J]urisdiction conferred by 28 U.S.C. §1331

             should hold firm against ‘mere implication flowing from subsequent

             legislation.’”); Colorado River Water Conservation Dist. v. United States, 424 U.S.

             800, 817 (1976) (describing “virtually unflagging obligation of the federal courts

             to exercise the jurisdiction given them”).
                     First, neither the Supreme Court nor this Court has endorsed Defendants’

             sweeping argument that, because Congress created administrative agencies to

             handle some employee claims involving their federal employment, all claims
             impacting federal employees are excluded from federal court. 30 To the contrary,

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                   Defendants’ Supreme Court cases address employees’ claims against their
             employing agencies, and do not purport to blanket the field of federal employment.
             See Elgin v. Dep’t of Treasury, 567 U.S. 1, 10 (2012) (holding CSRA sent
             “covered employees appealing covered agency actions” to administrative
             adjudication); United States v. Fausto, 484 U.S. 439, 447-49 (1988) (same). While
             this Court has channeled individual employees suing employing agencies, it has
             never channeled claims by non-federal-employees or their unions; challenging a
             government-wide Executive Order or any other presidential directive or OMB or
             OPM action; or against any defendant besides the employing agency. See Veit v.

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             the Supreme Court recently cautioned, “a statutory review scheme [that precludes

             district court jurisdiction] does not necessarily extend to every claim concerning

             agency action.” Axon Enters., Inc. v. FTC, 598 U.S. 175, 185 (2023); Kerr v.

             Jewell, 836 F.3d 1048, 1052-53 (9th Cir. 2016).

                        Plaintiffs do not seek to “evade” any applicable procedure, Mot. 9, but bring

             different claims than those the statutory schemes are designed to address.

             Defendants invoke the agency adjudication provisions of the Civil Service Reform

             Act (“CSRA”) and Federal Labor-Management Relations Statute (“FSLMRS”),

             but Plaintiffs’ constitutional and APA claims against the President, OMB, OPM, or

             DOGE, and involving a government-wide Executive Order and Memorandum, do

             not fall within those administrative schemes. Mot. 8-11.31 Far more textual

             indication of congressional intent is needed before removing the “command” of

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             Heckler, 746 F.2d 508 (9th Cir. 1984); Saul v. United States, 928 F.2d 829 (9th
             Cir. 1991) (individual employee); Russell v. U.S. Dep’t of the Army, 191 F.3d 1016
             (9th Cir. 1999) (same).
                   See 5 U.S.C. §7701 (MSPB appeals limited to “employee” or “applicant”
                   31

             claims challenging agency actions), §7703 (appeal rights similarly limited),
             §7103(a)(1) (FLRA: grievances by individual, labor organization, against agency);
             §7118 (FLRA: unfair labor practice by labor organization or agency), §7123
             (FLRA: appeal rights similarly limited). The FLRA expressly cannot hear disputes
             arising from “government-wide” action. E.g., NTEU and Dep’t of Treasury, IRS,
             60 F.L.R.A. 783, 783 (2005); 5 U.S.C. §7117(a)(1). The grievance definition
             Defendants cite (Mot. 9) does not permit claims challenging the EO or
             Memorandum.
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             APA review. Dep’t of Commerce v. New York, 588 U.S. 752, 771-72 (2019); cf.

             Loper Bright, 603 U.S. at 392-93 (“The text of the APA means what it says.”). 32

                     1.     Local Governments, Non-Profits, and Non-Federal Unions.

             Defendants concede, as they must, that the Merit Systems Protection Board

             (“MSPB”) and Federal Labor Relations Authority (“FLRA”) could never hear

             these Plaintiffs’ claims (which include labor unions SEIU and AFSCME as

             representatives of their non-federal members). Mot. 8-10. No governing authority
             supports the argument that Congress intended to send such plaintiffs to agencies

             that cannot hear these claims, or to foreclose these Plaintiffs altogether. See AFGE

             v. OPM, 2025 WL 914823, at *1 (9th Cir. Mar. 26, 2025) (“Nor have appellants
             demonstrated—under existing authority—that they are likely to establish that

             Congress has channeled the organizational plaintiffs’ claims to administrative

             agencies.”). Contrary to Defendants’ representation (Mot. 10), Fausto does not
             foreclose third-party claims or claims involving government-wide action simply

             because they impact federal employment. 484 U.S. at 445. Fausto addressed the

             question whether Congress intended the “withholding of remedy” to particular

             employees identified expressly in the CSRA to foreclose additional relief using the




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                   Defendants’ authorities do not preclude the type of claim in this case: 5
             U.S.C. §7701 defines the appeal procedure; 5 C.F.R. §351.901 says employees
             “may” appeal to MSPB; and Alder v. TVA, 43 F.App’x 952, 956 (6th Cir. 2002)
             involved employees who “reframe[ed]” wrongful termination claims previously
             asserted at the MSPB against their employing agencies seeking the same remedies.
             Id.
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             Back Pay Act service, id.; nothing in Fausto suggests Congress intended to

             foreclose claims by any plaintiff not expressly identified in the statute. 33

                     Implied doctrines cannot be so divorced from statutory text (which sets forth

             procedures Defendants admit these Plaintiffs “cannot invoke,” Mot. 10). E.g.,

             Loper Bright Enters., 603 U.S. at 391-92; Saloojas, Inc. v. Aetna Health of

             California, Inc., 80 F.4th 1011, 1015 (9th Cir. 2023) (courts “presume that

             Congress expressed its intent through the statutory language it chose”). 34 That

             would contravene APA precedent requiring that exceptions to judicial review be

             read narrowly. Dep’t of Commerce, 588 U.S. at 771-72; see U.S. Army Corps of

             Eng’rs v. Hawkes Co., Inc., 578 U.S. 590, 601-02 (2016); Weyerhaeuser Co. v. U.S.


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                   Block v. Community Nutrition Institute, which precluded consumers from
             challenging regulatory milk pricing market orders, is likewise inapposite. Mot. 9.
             That regulatory regime allowed only milk handlers and producers to participate in
             the regulatory and adjudicatory process; prohibited injunctions; and allowed
             consumers to participate by notice-and-comment. 467 U.S. 340, 348 (1984). The
             Court concluded that permitting consumers to sue would “nullify” the procedures
             established. Id. As the Supreme Court more recently explained: “‘[T]he mere fact
             that some acts are made reviewable should not suffice to support an implication of
             exclusion as to others. The right to review is too important to be excluded on such
             slender and indeterminate evidence of legislative intent.’” Bowers v. Mich. Acad.
             of Fam. Physicians, 476 U.S. 667, 674 (1986); accord Sackett v. EPA, 566 U.S.
             120, 129 (2012).
                34
                   See also Axon Enters., 598 U.S. at 217 (Gorsuch, J., concurring) (addressing
             concerns with extending implied doctrine: “[r]espectfully, this Court should be
             done with the Thunder Basin project. I hope it will be soon.”); Elgin, 567 U.S. at
             24-25 (Alito, J., dissenting) (“When Congress creates an administrative process to
             handle certain types of claims, it impliedly removes those claims from the ordinary
             jurisdiction of the federal courts” but “petitioners’ constitutional claims are a far
             cry from the type of claim that Congress intended to channel through the Board.”
             (emphasis added)).
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             Fish & Wildlife Serv., 586 U.S. 9, 22-23 (2018). The Congress that enacted the

             CSRA and FSLMRS referenced the APA at least three times (5 U.S.C. §§1103,

             1105, 7134) and cannot be said to have silently foreclosed the bedrock principle of

             APA review. Epic Sys. Corp. v. Lewis, 584 U.S. 497, 510 (2018) (“A party seeking

             to suggest that two statutes cannot be harmonized, and that one displaces the other,

             bears the heavy burden of showing a clearly expressed congressional intention that

             such a result should follow.” (citation omitted)).

                    The District Court correctly declined to expand implied preclusion doctrine

             to these claims.

                    2.      Federal Sector Union Plaintiffs. Nor did the court err in concluding

             that the same claims brought by federal union Plaintiffs (including AFGE, and

             SEIU and AFSCME as representatives of their federal members) are not

             channeled. Add.694-98. While employees or their unions can bring certain claims
             before these agencies, they cannot bring these claims involving constitutional

             separation-of-powers issues and APA challenges to the government-wide EO and

             Memorandum, for reasons previously explained, including because those claims

             are not against an employer agency. Add.695-98; see also Feds for Med. Freedom

             v. Biden, 63 F.4th 366, 375 (5th Cir. 2023) (en banc), judgment vac’d as moot, 144

             S.Ct. 480 (2023) (holding that challenge by employee organizations, including

             union, to government-wide federal employee vaccination mandate was not

             channeled to MSPB or FLRA); AFGE v. OPM, 2025 WL 900057 (N.D. Cal. Mar.

             24, 2025). Congress did not intend for these claims to be adjudicated by agencies
             that cannot hear them. E.g., Axon, 598 U.S. at 195 (“agency adjudications are
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             generally ill suited to address structural constitutional challenges”); Free

             Enterprise Fund, 561 U.S. at 490.

                    Federal-sector union Plaintiffs can no more sue the President, OMB, OPM,

             or DOGE at the MSPB or FLRA than can the Plaintiffs discussed above. Nor is

             there any stronger textual basis to conclude that these Plaintiffs’ APA claims were

             removed from the “command” of judicial review. Defendants’ argument that the

             federal-sector union Plaintiffs’ claims should be channeled to an agency that cannot

             hear them simply because they represent federal employees is not what Congress

             intended.

                    Defendants try to shoehorn Plaintiffs’ claims into this doctrine by

             mischaracterizing them as challenging only specific RIFs by employing agencies.

             Mot. 8-9. But the shoe does not fit. The EO, Memorandum, and ARRPs are not

             covered employment actions, so the MSPB cannot hear challenges to them. And
             the FLRA cannot hear any claim challenging a “government-wide rule”—like in

             this case. Supra, 23 n.31. Even under Thunder Basin Coal Co. v. Reich, 510 U.S.

             200, 207-13 (1994), claims cannot be channeled when that would prevent

             meaningful judicial review. Moreover, as the District Court concluded, there also

             can be no meaningful review when, after a prolonged administrative process,

             employees “would return to an empty agency with no infrastructure to support a

             resumption of their work.” Add.696 (citation omitted). And even if these agencies

             could hear claims against the President, the Supreme Court’s decision in Trump v.

             Wilcox, No. 24A966, 2025 WL 1464804 (U.S. May 22, 2025), holding the

             President likely to prevail on his constitutional challenge to for-cause removal
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             restrictions on members of independent agencies including the MSPB (which

             would apply to the FLRA), renders meaningless the review of claims against the

             President who has the power to fire the adjudicator.

                    Further, Plaintiffs’ APA and “separation-of-powers claim[s]” are based on

             the President’s and his implementing agencies’ lack of authority, arbitrary and

             capricious actions, and failure to comply with required procedures—issues that are

             “wholly collateral” to the statute’s review provisions. Axon, 598 U.S. at 191; see

             also Feds for Med. Freedom, 63 F.4th at 369. And the constitutional and

             administrative law issues that Plaintiffs raise fall far outside the MSPB and FLRA’s

             labor-and-employment expertise. Loper Bright, 603 U.S. at 399; Axon, 598 U.S. at

             190-96; Free Enterprise Fund, 561 U.S. at 490; Carr v. Saul, 593 U.S. 83, 92

             (2021).

                    C.      The District Court correctly found Plaintiffs faced irreparable
                            injury
                    The District Court found that Defendants’ actions have caused, and will
             continue causing, irreparable injury. Add.685-89, 717. More than 70

             uncontroverted declarations showed widespread and devastating impacts to

             Plaintiffs and their members, including extensive losses and deterioration of

             services. Add.159-76, 191-93, 303-05, 381-83, 572-75, 609-14.

                    Defendants focus only on injuries to federal employees, and argue they may

             later be remedied through back pay. Mot. 19-20. But damages from those injuries

             cannot be recovered under the APA. Add.717 (citing California v. Azar, 911 F.3d

             558, 581 (9th Cir. 2018)). Moreover, “given the scale and speed of defendants’

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             actions, if the reorganization continues, the agencies will not easily return to their

             prior level of operations.” Add.717. Back pay also could not remedy loss of

             “timely access to health care” benefits or the need to relocate. Id. (quoting Golden

             Gate Rest. Ass’n v. City & Cnty. of San Francisco, 512 F.3d 1112, 1125 (9th Cir.

             2008)).

                    Defendants completely overlook the numerous “non-federal employee

             members” of Plaintiff unions, “who stand to lose their jobs as a result of federal

             workforce reductions” and could never obtain back pay. Add.685-86. Defendants

             also ignore the District Court’s finding that local government plaintiffs face

             irreparable injuries for which they cannot recover damages. The District Court

             identified and “highlight[ed]” several “examples from the evidence” that

             demonstrate such injuries, including closure of Head Start programs, inability of

             farmers to obtain assistance, extended wait times and website problems for Social
             Security beneficiaries, and delayed processing and communication about grants for

             public health and capital projects. Add.674 n.1, 685-86, 688-89, 717.

                    Substantial record evidence supports those findings and establishes that

             essential federal government services, relied on by non-profit and local

             government plaintiffs as well as union Plaintiffs’ non-federal-employee members,

             have and will continue to suffer. See, e.g., ECF 37-39 ¶¶7-8, 11 (extreme Social

             Security delays will threaten benefits access if already understaffed agency cuts

             7,000 employees as planned); ECF 37-37 ¶¶18-21, 40-41 (cuts to county-based

             offices and staff at Agriculture threaten survival of small and medium farms); ECF
             37-44 ¶¶19-22 (harms to veterans’ health care); ECF 37-38 ¶¶15-16 (same).
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             Counties have lost access to federal employees working at county clinics and to

             grant specialists, forcing reliance on stop-gap funding. Add.304 n.22. Pending

             Forest Service cuts will shift wildfire response burden to counties. ECF 37-49 ¶¶2-

             4; ECF 37-58 ¶24; see also Add.304 n.23; ECF 37-19 ¶¶8, 22 (localities rely on

             emergency response to hazardous materials threatened by EPA cuts). These cuts

             directly threaten residents’ health and safety and local governments’ finances,

             which cannot be redressed through “back pay” to separated employees. See Harris

             v. Bd. of Supervisors, 366 F.3d 754, 762 (9th Cir. 2004) (it is “not speculative to

             anticipate that reducing the resources available will further impede the County’s

             ability to deliver medical treatment to plaintiffs in their times of need”); Add.159-

             76, 191-93, 303-05, 572-75, 381-83, 609-14.

                    D.      The District Court did not err in the scope of relief ordered

                    The scope of relief is “sized to fit the problems presented by th[is] case, no
             more and no less.” Add.719. The District Court properly enjoined specified

             agencies from taking further steps to implement or enforce two EO subsections, the

             Memorandum, and ARRPs effectuating that EO. Add.719-20. As the court

             acknowledged, an injunction must be as broad as necessary to give parties relief,

             Add.719 (citing Bresgal v. Brock, 843 F.2d 1163, 1170-71 (9th Cir. 1987)),

             including when “a showing of nationwide impact” is made, California v. Azar, 911

             F.3d at 584. Plaintiffs submitted extensive evidence demonstrating harm to

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             Plaintiffs and their members across the country, tied to each enjoined agency. 35
             See supra at 9-10, 29-30; ECF 37-3 to 37-59, ECF 96-1, ECF 101-3 to 101-10 (68

             declarations from 27 Plaintiffs); Add.609-614 (declaration chart). Where “‘a case

             involve[es] plaintiffs that operate and suffer harm in a number of jurisdictions ...
             the process of tailoring an injunction may be more complex.’” Add.719 (quoting

             City & Cnty. of San Francisco v. Barr, 965 F.3d 753, 766 (9th Cir. 2020)).

                     Defendants’ contention that the District Court “made no effort” to tailor
             relief, Mot. 20, is plainly wrong. The court found it would be “impracticable and

             unworkable” to attempt to grant piecemeal relief enjoining Defendants’ unlawful

             reorganization of entire agencies only to the extent it affects Plaintiffs, but not
             otherwise. Add.719. The Supreme Court has long recognized that injunctions may

             properly benefit nonparties when “necessary to redress the [harm to the]

             complaining parties.” Califano v. Yamasaki, 442 U.S. 682, 702 (1979); see, e.g.,

             Allen v. Milligan, 599 U.S. 1, 17 (2023) (affirming preliminary injunction of

             redistricting plan in challenge by Alabama citizens).

                     At the hearing, the District Court asked Defendants’ counsel multiple times
             how it could issue an injunction limiting relief to the named plaintiffs: multiple

             times, the court received no answer, with Defendants conceding the undertaking

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                   Plaintiff unions and organizations collectively represent millions of members
             across the country and are not geographically limited. See, e.g., Add.587 n.16
             (citing AFGE, SEIU, APHA, and ARA declarations). Plaintiff cities’ and
             counties’ injuries derive not only or even mainly from termination of federal
             employees employed within their geographic boundaries. Id. (evidence from
             Harris County, San Francisco, King County, Santa Clara County, Chicago, and
             Baltimore).
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             would be difficult, while arguing it was “a compliance decision for the

             Government.” Supp.Add.6:22-7:24, 8:11-17; see also Supp.Add.8:18-22 (District

             Court: “you haven’t said how I could do it ... in the English language”). 36 Because

             Plaintiffs demonstrated nationwide and indivisible harms, see Add.157-76, 664-65,
             the injunction is well within the District Court’s discretion. See also, e.g., ECF 37-

             27 ¶31 (showing interdependence of different positions at agency); ECF 37-31

             ¶¶15-20 (similar).

                     Moreover, the APA’s directive to “hold unlawful and set aside agency

             action” is not limited by “geographic boundaries.” E. Bay Sanctuary Covenant v.

             Garland, 994 F.3d 962, 987 (9th Cir. 2020). The “ordinary result” in APA cases “is
             that the rules are vacated—not that their application to the individual petitioners is

             proscribed.” Regents of Univ. of Cal. v. Dep’t Homeland Sec’y, 908 F.3d 476, 511

             (9th Cir. 2018), vacated in part on other grounds, 591 U.S. 1 (2020) (cleaned up);
             accord Corner Post, Inc. v. Bd. of Governors of Fed. Rsrv. Sys., 603 U.S. 799, 830-

             31 (2024) (Kavanaugh, J., concurring) (“[T]his Court has affirmed countless

             decisions that vacated agency actions ... rather than merely providing injunctive

             relief that enjoined enforcement of the rules against the specific plaintiffs.”)

             (collecting cases). And as in Regents, “the government fails to explain how the

             district court could have crafted a narrower injunction that would provide complete

             relief to the plaintiffs, including the entity plaintiffs.” 908 F.3d at 512 (citation

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                   Injunctive relief limited to federal employee members of union Plaintiffs
             would not remedy other Plaintiffs’ injuries. Add.717. And rescinding individual
             employees’ RIF notices would do little good if ongoing implementation meant
             there is no office or functioning agency to which employees can return.
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             omitted); see also 5 U.S.C. §705 (court may postpone agency action’s effective

             date and preserve status quo).

             II.    Defendants Do Not Establish Irreparable Injury

                    A stay applicant “must show that a stay is necessary to avoid likely

             irreparable injury to the applicant while the appeal is pending.” Al Otro Lado v.

             Wolf, 952 F.3d 999, 1007 (9th Cir. 2020) (citing Nken, 556 U.S. at 434). Without

             this threshold showing, “a stay may not issue.” Doe #1 v. Trump, 957 F.3d 1050,

             1058 (9th Cir. 2020). “The government cannot meet this burden by submitting

             conclusory factual assertions and speculative arguments that are unsupported in the

             record.” Id. at 1059-60.

                    But that is precisely what Defendants submit here, asserting without

             evidence that “the injunction costs the government millions of dollars each week.”

             Mot. 18-19. The District Court properly found that they failed to establish
             irreparable injury. Add.718-19. Defendants do not identify which employees

             “they would otherwise have let go in a reduction in force,” Mot. 19, or show they

             are not providing important government services. And as the District Court

             explained, “the Constitution gives Congress the power—and responsibility—of the

             purse.” Add.718. Congress exercised that power to appropriate the funds to

             employ these employees and maintain this level of government operations. As in

             Community Legal Services in East Palo Alto v. U.S. Department of Health and

             Human Services, 2025 WL 1393876, *6 (9th Cir. May 14, 2025), “[t]he

             Government has failed to demonstrate that spending congressionally appropriated
             funds as directed by Congress causes irreparable injury.” See also San Francisco,
                                                     -33-
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             897 F.3d at 1232 (“Aside from the power of veto, the President is without authority

             to thwart congressional will by canceling appropriations passed by Congress.

             Simply put, ‘the President does not have unilateral authority to refuse to spend the

             funds.’”) (quoting In re Aiken Cnty., 725 F.3d 255, 261 n.1 (D.C. Cir. 2013)

             (Kavanaugh, J.)).

                    Unlike in Maryland v. USDA, 2025 WL 1073657, *1 (4th Cir. Apr. 9, 2025)

             (cited Mot. 19), this injunction requires no reinstatement of any employees.

             Moreover, “[m]ere injuries, however substantial, in terms of money, time and

             energy necessarily expended … are not enough” to support a stay pending appeal.

             Al Otro Lado, 952 F.3d at 1008 (quoting Sampson, 415 U.S. at 90).

             III.   Equitable Factors Weigh Against a Stay

                    The District Court appropriately rejected Defendants’ balance-of-equities

             and public-interest arguments. Add.718-19; see Earth Island Inst. v. Carlton, 626
             F.3d 462, 475 (9th Cir. 2010) (“assignment of weight to particular harms is a

             matter for district courts to decide”). After rejecting multiple opportunities to

             present evidence, Defendants now assert that the injunction costs them “millions of

             dollars each week” and complain that the injunction interferes with their efficiency

             and workforce-streamlining efforts. Mot. 18-19. But the District Court correctly

             found such justifications undermined by the record, including “the fact that

             defendants have placed many employees on paid administrative leave” while

             continuing to pay them; “admissions from agency heads that cuts have been or

             might be made too fast,” requiring reinstatement of many terminated employees;
             and evidence that many cuts will not achieve cost savings. Add.718. “[J]ust
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             because a district court grants preliminary relief halting a policy advanced by one

             of the political branches does not in and of itself an emergency make.” Washington

             v. Trump, 2025 WL 553485, at *1 (9th Cir. Feb. 19, 2025) (Forrest, J. concurring);

             see also supra at 33-34 (spending congressionally-appropriated funds is not

             irreparable injury); Lopez v. Heckler, 713 F.2d 1432, 1437 (9th Cir. 1983)

             (“preventable human suffering” outweighs “financial concerns”).

                    Finally, “[t]here is generally no public interest in the perpetuation of

             unlawful agency action. To the contrary, there is a substantial public interest in

             having governmental agencies abide by the federal laws that govern their existence

             and operations.” League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir.

             2016) (citations omitted).

                                                CONCLUSION
                    The Court should deny Defendants’ motion.


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                                    CERTIFICATE OF COMPLIANCE
                     Pursuant to Federal Rule of Appellate Procedure 32(g), I hereby certify

              that this response complies with Federal Rule of Appellate Procedure

              27(d)(1)(E) because it is proportionally spaced and has a typeface of 14 points.

              It contains 9000 words and is filed with a motion for leave to exceed the word

              limit pursuant to Circuit Rule 32-2(a). This response is a joint brief submitted

              by the separately represented parties of Plaintiff Organizations, the County of

              Santa Clara, and the City and County of San Francisco.


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                                           FILER’S ATTESTATION
                     Pursuant to Circuit Rule 25-5(f), the filer attests that all other signatories

              to this document concur in the content of, and have authorized, this filing.


              Dated: May 27, 2025                     /s/ Stacey M. Leyton
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